Case 0:04-cv-61159-JAL Document 15 Entered on FLSD Docket 11/30/2004 Page 1 of 2

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA wa
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CASE NO. 04-61351-CIV-LENARD/SIMONTON

JOHN A. ABBOTT, et al.,

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Plaintiffs, FILED by oN ae D.C.

ROY 2 4 2004

 

 

VS.

IRA B. LAMPART; HARLAN PRESS;

 

 

RICHARD FINKBEINER; and soeAR NCE
CONCORD CAMERA CORP., 8D OF FLA MIAMI
Defendants.
/
ORDER OF CONSOLIDATION

 

THIS CAUSE is before the Court sua sponte. On October 18, 2004, Plaintiffs
Abbott, et al., filed their Complaint (D.E. 1) in Case No. 04-61351-CIV. On September 1,
2004, Plaintiffs Martin Brustein, et al., filed their Complaint (D.E. 1) in Case No. 04-61 159-
CIV. Having thoroughly reviewed the Complaints and the record, the Court finds as follows:

Pursuant to Federal Rule of Civil Procedure 42(a), the Court finds that Case No. 04-
61351-CIV involves common questions of law and fact — including the same Defendants
and similar claims arising from the same set of events — as Case No. 04-61159-CIV. In the
interest of judicial economy, these cases shall be consolidated for both pretrial procedures
and for trial. Accordingly, it is:

ORDERED AND ADJUDGED that:

I. Case No. 04-61159-CIV-LENARD/SIMONTON and Case No. 04-61351-

CIV-LENARD/SIMONTON shall be CONSOLIDATED.

 
Case 0:04-cv-61159-JAL Document 15 Entered on FLSD Docket 11/30/2004 Page 2 of 2

 

2. The higher-numbered case, Case No. 04-61351-CIV-
LENARD/SIMONTON, shall be ADMINISTRATIVELY CLOSED.

3. All pleadings in the consolidated case shall be filed under the lower case
number, Case No. 04-61159-CIV-LENARD/SIMONTON.

DONE AND ORDERED in Chambers in Miami, Florida, this 24 day of

November, 2004.

Cpu SF. fesrk—

JOAN A. LENARD
UNITED STATES DISTRICT JUDGE

ce: U.S. Magistrate Judge Andrea M. Simonton
All Counsel of Record

Case No. 04-61159-CIV-LENARD/SIMONTON
Case No. 04-61351-CIV-LENARD/SIMONTON
